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                   EXHIBIT
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   From:             Jessica Phillips
   To:               Edward ReBrook, ESQ
   Cc:               Jessica Phillips; Michael Bloch; Yotam Barkai
   Subject:          discovery deficiencies and violations
   Date:             Wednesday, December 11, 2019 8:58:31 PM
   Attachments:      Kirkland Article.pdf


  Mr. ReBrook:

  I write to follow up about your clients’ numerous discovery deficiencies and violations that came to light
  during the deposition of Burt Colucci. Plaintiffs plan to raise these issues with the Court in a motion for
  sanctions in which Plaintiffs will seek adverse inferences against Mr. Schoep and National Socialist
  Movement (“NSM”) if your clients do not comply with the following by 5 pm on Monday, December 16,
  2019:

      1. Produce to the third-party discovery vendor Mr. Colucci’s iPhones, including the iPhone from which
         he read into the record yesterday responsive text messages between himself and your client, Mr.
         Schoep.

      2. Produce to the third-party discovery vendor, Mr. Colucci’s computers, including the “Acer”
         computer he referenced under oath as well as the “new computer” that Mr. Colucci testified he
         “went out and got” because “people were saying that I was going to have to turn over my electronic
         devices.”

      3. Provide to Plaintiffs a new certification on behalf of NSM that lists all of the Social Media Accounts
         and Electronic Devices that may contain any potentially relevant Documents and Electronically
         Stored Information (“ESI”) as those terms are defined in the Imaging Order. Mr. Colucci’s
         testimony yesterday established that NSM’s certification dated December 6, 2018, is woefully
         deficient.

      4. Provide to the third-party vendor accurate credentials to each of the Social Media Accounts listed
         on the certification you provide Plaintiffs.

      5. Identify the representative from NSM with whom you conferred to answer Plaintiffs’ Second Set of
         Interrogatories that you served on Plaintiffs on November 29, 2019.

      6. Provide to Plaintiffs a certification required by FRCP 33 swearing to the contents of the responses
         to Plaintiffs’ Second Set of Interrogatories by the authorized representative from NSM.

      7. Provide to Plaintiffs an updated set of responses to Plaintiffs [Corrected] First Set of Requests for
         Production of Documents, Plaintiffs’ First Set of Interrogatories To All Defendants, and Plaintiffs’
         Second Set of Interrogatories from your client, NSM. As you know, under Federal Rule of Civil
         Procedure 26(e), your clients have an ongoing obligation to supplement their responses to
         Plaintiffs’ discovery requests. Mr. Colucci confirmed multiple times under oath that NSM’s
         responses to all three of Plaintiffs’ discovery requests were inaccurate and/or incomplete. All three
         of the responses must be dated, signed, and certified by NSM’s authorized representative.

      8. Provide to the third-party discovery vendor Mr. Schoep’s new phone with which he has been text
         messaging Mr. Colucci.

      9. Produce to Plaintiffs the February 26, 2019, affidavit signed by Jeff Schoep on February 27, 2019,
         referred to and embedded in the attached article entitled, “Neo-Nazi Group Vows To Wrest Control
         Back From Black Activist” by Allegra Kirkland (available here:
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         https://talkingpointsmemo.com/muckraker/fight-national-socialist-movement-james-hart-stern)

    10. Conduct immediately an investigation for responsive documents and communications from
         custodians associated with your client, NSM. As we have told you before, the Federal Rules of
         Civil Procedure impose a duty upon companies responding to discovery to conduct a reasonable
         investigation, make any reasonable inquiries of its employees, and fully respond to interrogatories
         and document requests. Mr. Colucci’s deposition confirmed that no investigation has taken place.



  Plaintiffs reserve all rights to seek all available forms of appropriate relief from the Court with respect to
  your clients’ continued failure to meaningfully participate in discovery.

  Jessica E. Phillips
  Partner

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                        MUCKRAKER / SCANDAL AND INVESTIGATIONS




   2 mins ago                      1 hour ago                      1 hour ago
   Horowitz Questioned On          Sinclair Drops Boris Epshteyn   IG Wont Call Carter Page
   Claim That The FBI Was          As Analyst In Favor Of          Surveillance Spying No Matter
   Meddling In Election With       Investigative Journalism        How Many Times GOP Asks
   Russia Probe




Neo-Nazi Group Vows To Wrest
Control Back From Black
Activist
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  By Allegra     | March 6, 2019 4:36
  Kirkland         p.m.


  JOIN TPM FOR JUST $1


  The head of one of the nations longest-running
  neo-Nazi groups recently turned control of the
  organization over to an African-American
  ordained minister who wants to dismantle the
  group from the inside.

  But the story gets much weirder than that.
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  Each side is now accusing the other of fraud,
  with the former leadership of the National
  Socialist Movement (NSM) and California
  activist James Hart Stern each threatening legal
  action over control of the organization.

  In a Wednesday interview with TPM, recently
  retired NSM commander Jeff Schoep said that
  he was persuaded under false pretenses to
  formally turn the reins over to Stern. Schoep
  also released a statement saying Stern has no
  legal control or legal standing with the NSM.

  Stern told TPM he simply outsmarted the NSM,
  and that hes filing a restraining order to halt
  Schoep from trying to interfere with a group he
  no longer controls.

  The fight brewing over the last week escalated
  on Wednesday, when the NSM submitted a
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  new incorporation filing to the Michigan
  Department of Licensing and Regulatory
  Affairs replacing Stern with NSM member
  Acacia Dietz as the registered agent for the
  group. Schoep told TPM that Sterns leadership
  was based solely on these documents, and that
  theyve now been fixed.

  A spokesman for the department confirmed to
  TPM that anyone can file these documents,
  and that the state has no process for
  confirming that changes in corporate
  leadership are legitimate.

  But Stern told TPM that he has other proof that
  Schoep legally authorized him to assume
  control of the NSM, including recordings of
  phone conversations and a notarized affidavit.

  Stern provided TPM with a copy of the affidavit
  allegedly signed by Schoep on Feb. 27, which
  reads, I am assuring everyone that this is not
  an un-sincere move to inactivate this group.
  James Hart Stern has assured me he will not
  carry on the organization as it was do [sic] to
  his polar opposite views.
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  This was not just a stunt, it continues.

  The document (pictured below) contains
  multiple grammatical errors, additional words,
  and repeated misspellings of Schoeps name.
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   Stern said he plans to file a restraining order
   against Schoep for violating that agreement in
   Riverside County, California, where Stern lives,
   on Wednesday.

   This bizarre situation further complicates the
   legal battle that was already embroiling the
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   NSM and led to Stern being named president of
   the group in the first place.

   The NSM and Schoep are among the many
   defendants named in a federal lawsuit brought
   on behalf of 11 Virginia residents injured
   during the violent white supremacist rally that
   erupted in Charlottesville in the summer of
   2017.

   Stern managed to convince Schoep that having
   him assume control of the NSM would relieve
   the group of legal liability in that suit, both
   men agree.

   But exactly why and how this happened
   depends on who you ask. Stern and Schoep
   have almost opposite accounts of how this
   came to pass, as the men first told the
   Washington Post, though they agree they were
   acquaintances who were in regular contact
   over the past several years.

   That contact was rooted in Sterns unlikely
   friendship with former Ku Klux Klan Grand
   Wizard Edgar Ray Killen. The pair were
   cellmates in a Mississippi prison while Stern
   was serving time for defrauding the Magnolia
   States licensed cosmetologists and Killen was
   serving a 60-year sentence for his role in
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   orchestrating the infamous 1964 murders of
   three young civil rights workers, James Chaney,
   Andrew Goodman, and Michael Schwerner.

   Killen ended up signing over power of attorney
   to Stern, and Stern used that authority in 2016
   to dissolve the KKK chapter that Killen once
   ran.

   Stern and Schoep each allege that the other
   made first contact around 2014 to discuss the
   unusual relationship that Stern had with
   Killen, and remained in touch in the following
   years. They even held a race relations
   summit in California attended by members of
   the NSM and black activists.

   Both men say that they would exchange semi-
   regular phone calls, in which Schoep divulged
   to Stern that he felt ready to move on from the
   neo-Nazi organization hed run since 1994.

   In Sterns telling, Schoep was exhausted by the
   Charlottesville suit and eager for the
   opportunity to leave the movements legal
   entanglements and interpersonal beefs behind.
   Stern said he offered to assume control of the
   NSM so that Schoep could do so.
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   According to Schoep, Stern assured him that
   the plaintiffs had promised to dismiss myself
   and the NSM off the case if he agreed to the
   leadership change and obtained proof that it
   was a sincere thing.

   So he did. As the Southern Poverty Law Center
   first reported on Feb. 15, Schoep signed papers
   with the Michigan Department of Licensing
   naming Stern the leader of the organization.
   Schoep also fired the white nationalist-
   affiliated attorney, Jim Kolenich, who was
   representing himself and the NSM in that case.

   But he didnt anticipate what happened next.
   Stern promptly filed a motion asking the judge
   in the Charlottesville case to find the NSM
   culpable of conspiring to commit violence at
   the Unite the Right rally.

   Judge Joel Hoppe said he could not take up the
   motion, noting that Stern was not an attorney
   and could not therefore claim to represent the
   NSM.

   Per a transcript of a March 1 telephone hearing
   provided to TPM, the judge ordered Stern to
   obtain representation for the group and Schoep
   to obtain representation for himself. He also
   indicated that he had no interest in allowing
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   the NSM leadership struggle to delay the case,
   which is slated to go to trial in late 2019 or
   early 2020.

   As part of pre-trial discovery in the case, the
   judge ordered all the defendants to turn over
   their electronic devices and social media
   accounts for forensic imaging by Friday, March
   8.

   In the meantime, Schoep and Stern have been
   bashing each other in the press, with Stern
   claiming he outwitted the ex-NSM leader and
   Schoep insisting hed been hoodwinked.

   The lifelong neo-Nazi told TPM that Stern was
   pure evil for misleading him about his
   intentions for the case and the future of the
   group.

   He knew that I was stepping away from the
   movement, Schoep said of his retirement.
   Instead of facilitating or trying to help with
   that, he manipulated and deceived me, like he
   said. And then tried to manipulate a court case
   in order to destroy an organization that I was
   in the process of leaving behind.

   Schoep said he planned to surface details of
   Sterns eccentric background, which includes a
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   history of filing seemingly frivolous lawsuits
   and at least one other prison stint. As the
   Jackson Free Press once reported, Stern, who
   also goes by the name Akeem Reinsfield, once
   filed a $61 million lawsuit against Revs. Jesse
   Jackson and Al Sharpton for criticizing the
   movie Barbershop; sued the California
   Department of Corrections for failing to use
   sterilized hair-cutting instruments; and sued a
   Mississippi county clerk for allegedly
   committing perjury in his criminal case.

   Stern said Schoep was just upset that hed
   singlehandedly destroyed the organization that
   hed led for decades.

   Its my job to dismantle this group, Stern said
   of the NSM.

   Its like lightning strikes again, Stern added,
   nodding at his relationship with the former
   KKK grand wizard. Its happened to me
   before.

   This post has been updated.




                         (@allegrakirkland) Allegra
      Kirkland is a New York-based reporter for Talking
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       Points Memo. She previously worked on The Nations
       web team and as the associate managing editor for
       AlterNet. Follow her on Twitter @allegrakirkland.




   includes:     James Hart Stern        Jeff Schoep

                 National Socialist Movement

                 white nationalism




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